           Case 1:17-cv-00849-LY Document 20 Filed 01/31/18 Page 1 of 2


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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAjg18                        j    31   PM 14:36
                                  AUSTIN DIVISION

BRADLEY RUDKIN,                                     §
               PLAINTIFF,                           §
                                                   §      CAUSE NO. A-17-CV-8Y
V.                                                 §
                                                    §
ROGER BEASLEY IMPORTS, INC.,                        §
               DEFENDANT.                          §

                      ORDER ON REPORT AND RECOMMENDATION

       Before the court are Defendant's Motion to Dismiss, for Fees and Sanctions Pursuant to the

Texas Citizen's Participation Action filed October 12, 2017 (Doe. #8); Plaintiff's Response to

Defendant's Motion to Dismiss, for Fees and Sanctions Pursuant to the Texas Citizen's Participation

Act filed November 9, 2017 (Doe. #12); Roger Beasley Imports, Inc.'s Reply on its Motion to

Dismiss, for Fees and Sanctions Pursuant to the Texas Citizen's Participation Act filed November

13, 2017 (Doe. #13). The motion, response, and reply were referred to the United States Magistrate

Judge for report and recommendation.        See   28 U.S.C.   §   636(b); Fed. R. Civ. P. 72; Loc. R. W. D.

Tex. Appx. C, 1(d).

       The magistrate judge filed his Report and Recommendation on December 28, 2017

(Doe. #18), recommending that this court deny the motion to dismiss. Roger Beasley Imports, Inc.'s

Objections to Report and Recommendation Denying Motion to Dismiss was filed January 11, 2018

(Doe. #19). In light of the objections, the court has undertaken a de novo review of the entire case

file and finds that the Report and Recommendation should be accepted and approved for

substantially the reasons stated therein.

       In it objections Defendant Roger Beasley Imports, Inc. ("Roger Beasley") asserts that Fifth

Circuit precedent requires this court to conclude that the Texas anti-SLAPP statute, the Texas
           Case 1:17-cv-00849-LY Document 20 Filed 01/31/18 Page 2 of 2



Citizen's Participation Act, should apply in this case. See Henry v. Lake Charles Am. Press, L.L. C.,

566 F.3d 164, 168-69 (5th Cir. 2009). Roger Beasley further cites to several district court cases

form the Eastern and Southern Districts of Texas in support of the application of Henry in this case.

The court concludes, however, that the magistrate judge properly applies subsequent Fifth Circuit

case law that questions the broad application of Henry. See e.g. Block v. Tanenhaus, 867 F.3d 585,

589 n. 2 (5th Cir. 2017). Therefore, the court will overrule Roger Beasley's objections.

       IT IS THEREFORE ORDERED that Roger Beasley Imports, Inc.'s Objections to Report

and Recommendation Denying Motion to Dismiss (Doc. #19) are OVERRULED.

       IT IS FURTHER ORDERED that the Report and Recommendation of the United States

Magistrate Judge (Doc. #18) is APPROVED and ACCEPTED as set forth herein.

       IT IS FURTHER ORDERED that Defendant's Motion to Dismiss, for Fees and Sanctions

Pursuant to the Texas Citizen's Participation Action filed October 12, 2017 (Doc. #8) is DENIED.

       SIGNED this I'Lfl" day of                                         ,   2018.




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